Case 8:21-cv-00839-SDM-AAS Document 24 Filed 05/05/21 Page 1 of 1 PageID 891



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION



   STATE OF FLORIDA,

         Plaintiff,

   v.                                               CASE NO. 8:21-cv-839-T-23AAS

   XAVIER BECERRA, et al.,

         Defendants.
   __________________________________/


                                         ORDER

         Because the plaintiff submitted an incorrect version of a declaration, the

   plaintiff moves unopposed (Doc. 23) to amend the motion for preliminary injunction

   “for the sole purpose of filing the correct declaration.” The motion (Doc. 23) is

   GRANTED, and the plaintiff may submit an amended motion for preliminary

   injunction no later than MAY 6, 2021.

         ORDERED in Tampa, Florida, on May 5, 2021.
